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                          IN THE UNITED STATES DISTRJCT COURT

                              FOR THE DISTRJCT OF DELAWARE

   STEUBEN FOODS, INC. ,

                        Plaintiff,

                 V.                                  C.A. No. 1: l 9-cv-2181-CFC-CJB

   SHIBUYA HOPPMANN CORP. and
   HPHOODLLC,

                        Defendants.


                                      SCHEDULING ORDER


          This 16th day of March      , 2020, the Court having conducted an initial Rule 16

  scheduling and planning conference pursuant to Federal Rule of Civil Procedure l 6(b) and

  Local Rule 16.1 on   March I0       , 2020, and the parties having determined after di scussion

  that the matter cannot be resolved at this juncture by settlement, voluntary mediation, or binding

  arbitration;

          IT IS ORDERED that:

          I.     Rule 26<al<U Initial Disclosures and E-Discovery Default Standard.
                 [The parties have already exchanged Rule 26(a)(l) disclosures].

          2.     Joinder of Other Parties and Amendment of Pleadin2s.
                 [The parties agree that the pleadings and parties are already fixed] .
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         3.      Application to Court for Protective Order.
                 [A protective order was entered in the United States District Court for the Western
                 District of New York. If the Court would like the parties to submit an amended
                 protective order including the below language, the parties will do so. The parties
                 respectfully suggest that this can be discussed at the scheduling conference.

                 Other Proceedings. By entering this order and limiting the
                 disclosure of information in this case, the Court does not intend to
                 preclude another court from finding that information may be
                 relevant and subject to disclosure in another case. Any person or
                 party subject to this order who becomes subject to a motion to
                 disclose another party's information designated "confidential" [the
                 parties should list any other level of designation, such as " highly
                 confidential ," which may be provided for in the protective order]
                 pursuant to this order shall promptly notify that party of the
                 motion so that the party may have an opportunity to appear and be
                 heard on whether that information sho uld be disclosed.].

         4.      Papers Filed Under Seal. When filing papers under seal, counsel shall follow
  the District Court's policy on Filing Sealed Civil Documents in CM/ECF and section G of the

  Administrative Procedures Governing Filing and Service by Electronic Means. A redacted

  version of any sealed document shall be filed electronically within seven (7) days of the filin g of

  the sealed document.

         Should any party intend to request to seal or redact all or any portion of a transcript of a

  court proceeding (including a teleconference), such party should expressly note that intent at the

  start of the court proceeding. Should the party subsequently choose to make a request for sealing

  or redaction, it must, promptly after the completion of the transcript, file with the Court a motion

  for sealing/redaction, and include as attachments (I) a copy of the complete transcript

  highlighted so the Court can easily identify and read the text proposed to be sealed/redacted, and

  (2) a copy of the proposed redacted/sealed transcript. With its request, the party seeking

  redactions must demonstrate why there is good cause for the redactions and why disclosure of

  the redacted material would work a clearly defined and serious injury to the party seeking
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  redaction.

         5.      Courtesy Copies. Other than with respect to " discovery matters," which are
  governed by Paragraph 8(g), and the final pretrial order, which is governed by Paragraph 20, the

  parties shall provide to the Court two (2) courtesy copies of all briefs and one (1) courtesy copy

  of any other document filed in support of any briefs (i.e., appendices, exhibits, declarations,

  affidavits etc.). This provision also applies to papers filed under seal.

         6.      ADR Process. Having di scussed the ADR process during the Rule         16 scheduling

  conference, the Court will schedule one or more teleconferences to discuss ADR with the parties

  during the pendency of this case.

         7.      Disclosures. Absent agreement among the parties, and approval of the Court:
                 [The parties have already exchanged infringement, noninfringement, and invalidity
                 contentions. The parties have agreed upon the exchange of final infringement,
                 non infringement, and invalidity contentions following the issuance of a claim
                 construction order. Final infringement contentions will be served 45 days after
                 issuance of the claim construction order. Final invalidity and non infringement
                 contentions will be served 45 days after service of final infringement contentions].

          8.     Discovery. Unless otherwise ordered by the Court, the limitations on discovery
  set forth in Local Rule 26.1 shall be strictly observed.

                 a.      Discovery Cut Off. All discovery in this case shall be initiated so that it

  will be completed on or before November 13, 2020.

                  b.      Document Production. Document production shall be substantially

  complete by July 31, 2020.

                  c.      Requests for Admission. The parties agreed that Fed. R. Civ. P. 36 shall
                          govern Requests for Admission without modification.

                  d.      Interrogatories.

                          1.      A maximum of 25 interrogatories, including contention

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  interrogatories, are permitted for each side.

                         ii.     The Court encourages the parties to serve and respond to

  contention interrogatories early in the case. In the absence of agreement among the parties,

  contention interrogatories, if filed , shall first be addressed by the party with the burden of proof.

  The adequacy of all interrogatory answers shall, in part, be judged by the level of detail each

  party provides; i.e. , the more detail a party provides, the more detail a party shall receive.

                 e.      Depositions.
                          I.      Limitation on Hours for Deposition Discovery. Each side is

  limited to a total of 70 hours of taking testimony by deposition upon oral examination.

                          II.     Location of Depositions. Any party or representative (officer,

  director, or managing agent) of a party filing a civil action in this district court must ordinarily be

  required, upon request, to submit to a deposition at a place designated within this district.

  Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

  counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

  action in this Court for the purpose of this provision.

                 f.       Disclosure of Expert Testimony.

                          I.      Expert Reports. For the party who has the initial burden of proof

  on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or

  before January 29, 2021. The supplemental disclosure to contradict or rebut evidence on the

  same matter identified by another party is due on or before February 26, 2021. Reply expert

  reports from the party with the initial burden of proof are due on or before March 26, 2021.

  No other expert reports will be permitted without either the consent of all parties or leave of the

  Court. Along with the submissions of the expert reports, the parties shall advise of the dates and

  times of their experts ' availability for deposition. Expert discovery will conclude by April 30,
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  2021 .

                          11.    Expert Report Supplementation. The parties agree they will

  not permit expert declarations to be filed in connection with motions briefing (including case-

  dispositive motions).

                          Ill.   Objections to Expert Testimony. To the extent any objection to

  expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

  Pharm., Inc., 509 U.S . 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be

  made by motion no later than the deadline for dispositive motions set forth herein, unless

  otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

  connection with briefing of case dispositive motions .

                 g.       Discovery Matters and Disputes Relating to Protective Orders.

                          1.     Any discovery motion filed without first complying with the

  following procedures will be denied without prejudice to renew pursuant to these

  procedures.

                          11.    Should counsel find , after good faith efforts-including verbal

  communication among Delaware and Lead Counsel for all parties to the dispute-that they are

  unable to resolve a discovery matter or a dispute regarding a protective order (other than that

  involving the initial drafting of a protective order, which is discussed further below), the parties

  involved in the discovery matter or protective order dispute shall submit a joint letter in

  substantially the followin g form:

                                 Dear Judge Burke:

                                 The parties in the above-referenced matter
                                 write to request the scheduling of a
                                 discovery teleconference.

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                                 The followin g attorneys, including at least
                                 one Delaware Counsel and at least one
                                 Lead Counsel per party, participated in a
                                 verbal meet-and-confer (in person and/or
                                 by telephone) on the following date(s):

                                 Delaware Counsel: - - - - - - - - -

                                 Lead Counsel:
                                                 -----------
                                 The disputes requiring judicial attention are
                                 listed below:

                                 [provide here a non-argumentative list of
                                 disputes requiring judicial attention]

                         111.    The moving party (i.e. , the party seeking relief from the Court)

  should also file a "Motion For Teleconference To Resolve Discovery Dispute." The suggested

  text for this motion can be found in Magistrate Judge Burke' s section of the Court' s website, in

  the "Forms" tab, under the heading "Discovery Matters -- Motion to Resolve Discovery

  Dispute."

                         1v.     The Court will thereafter set a discovery telephone conference.

  Not less than ninety-six (96) hours prior to the teleconference, excluding weekends and holidays,

  the moving party shall file with the Court a letter, not to exceed four (4) pages, in no less than

  12-point font, outlining the issues in dispute and its position on those issues . This submission

  shall include: (1) a proposed order, attached as an exhibit, setting out the nature of the relief

  requested of the Court; and (2) to the extent that the dispute relates to responses to certain

  discovery requests, an attached exhibit (or exhibits) containing the requests and the responses in

  dispute. Not less than forty-eight (48) hours prior to the teleconference, excluding weekends and

  holidays, any party opposing the application for relief may file a letter, not to exceed four (4)

  pages, in no less than 12-point font, outlining that party ' s reasons for its opposition. To the


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  extent that factual issues are disputed or are otherwise central to the Court's analysis, the parties

  shall attach as an exhibit (or exhibits) sworn declarations or affidavits regarding those issues.

  Each party shall submit two (2) courtesy copies of its discovery letter and any attachments to the

  Clerk's Office within one hour of e-filing.

                         v.      Should the Court find further briefing necessary upon the

  conclusion of the telephone conference, the Court will order it. Alternatively, the Court may

  choose to resolve the dispute prior to the telephone conference and will, in that event, cancel the

  conference.

                         v1.     Should counsel find, after good faith efforts-including verbal

  communication among Delaware and Lead Counsel for all parties to the dispute-that they are

  unable to resolve a dispute regarding the initial drafting of a protective order, the parties involved

  in the dispute shall submit a joint letter in substantially the following form:

                                 Dear Judge Burke:

                                 The parties in the above-referenced matter
                                 write to request the scheduling of a
                                 teleconference to resolve protective order
                                 dispute.

                                 The following attorneys, including at least
                                 one Delaware Counsel and at least one
                                 Lead Counsel per party, participated in a
                                 verbal meet-and-confer (in person and/or
                                 by telephone) on the following date(s):

                                 Delaware Counsel:

                                 Lead Counsel: _ _ _ _ _ _ _ _ _ __

                                 The disputes requiring judicial attention are
                                 listed below:

                                 [provide here a non-argumentative list of
                                 disputes requiring judicial attention]
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                          v11.    The parties shall also file a "Joint Motion For Teleconference To

  Resolve Protective Order Dispute." The suggested text for this motion can be found in

  Magistrate Judge Burke's section of the Court' s website, in the "Forms" tab, under the heading

  "Discovery Matters -- Joint Motion to Resolve Protective Order Dispute."

                          vu1.    The Court will thereafter set a protective order dispute

  teleconference. Not less than ninety-six (96) hours prior to the teleconference, excluding

  weekends and holidays, each party shall file with the Court a letter, not to exceed two (2) pages,

  in no less than I 2-point font, outlining the issues in dispute and its position on those issues. This

  submission should include the party's proposal as to how the content of the disputed portion(s)

  of the protective order should read. Not less than forty-eight (48) hours prior to the

  teleconference, excluding weekends and holidays, each party may file a letter, not to exceed two

  (2) pages, in no less than 12-point font, outlining that party ' s response to the opposing party ' s

  initial letter. Each party shall submit two (2) courtesy copies of its protective order dispute letter

  and any attachments to the Clerk's Office within one hour of e-filing.

                          1x.     Should the Court find further briefing necessary upon the

  conclusion of the telephone conference, the Court will order it. Alternatively, the Court may

  choose to resolve the dispute prior to the telephone conference and will , in that event, cancel

  the conference.

          9.      Motions to Amend.
                  a.      Any motion to amend (including a motion for leave to amend) a pleading

  shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter,

  not to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

  proposed amended pleading as well as a " blackline" comparison to the prior pleading.
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                 b.      Within seven (7) days after the filing of a motion in compliance with

  this Order, any party opposing such a motion shall file a responsive letter, not to exceed five

  (5) pages.

                 c.      Within three (3) days thereafter, the moving party may file a reply letter,

  not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

  teleconference to address the motion to amend.

          Io.    Motions to Strike.
                 a.      Any motion to strike any pleading or other document shall NOT be

  accompanied by an opening brief but shall , instead, be accompanied by a letter, not to exceed

  three (3) pages, describing the basis for the requested relief, and shall attach the document to be

  stricken .

                 b.      Within seven (7) days after the filing of a motion in compliance with

  this Order, any party opposing such a motion shall file a responsive letter, not to exceed five

  (5) pages.

                 c.      Within three (3) days thereafter, the moving party may file a reply letter,

  not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

  teleconference to address the motion to strike.

           11.   Claim Construction Issue Identification.

         [The parties have already exchanged a list of claim terms for construction].

         Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint Claim

 Construction Chart to be filed no later than on May 8, 2020. The Joint Claim Construction Chart,

 in Word format, shall be e-mailed simultaneously with filing to cfc_civil@ded.uscourts.gov . The

 text for the Joint Claim Construction Chart shall be 14-point and in Times New Roman or a similar
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  typeface. The parties' Joint Claim Construction Chart should identify for the Court the

 term(s)/phrase(s) of the claim(s) in issue and should include each party's proposed construction of

  the disputed claim language with citation(s) only to the intrinsic evidence in support of their

  respective proposed constructions. A separate text-searchable PDF of each of the patent(s) in issue

  shall be submitted with this Joint Claim Construction Chart. In this joint submission, the parties

  shall not provide argument. Each party shall file concurrently with the Joint Claim Construction

  Chart a "Motion for Claim Construction" that requests the Court to adopt the claim construction

  position(s) of that party set forth in the Joint Claim Construction Chart. The motion shall not contain

  any argument and shall simply state that the party "requests that the Court adopt the claim

  construction position[s] of[the party] set forth in the Joint Claim Construction Chart (D.I. [ ])."

           12.    Claim Copstructiop Briefipg.       The Plaintiff shall serve, but not file, its opening

  brief, not to exceed 5,500 words May 22, 2020. The Defendant shall serve, but not file , its answerin g

  brief, not to exceed 8,250 words, on June 19, 2020. The Plaintiff shall serve, but not file , its reply

  brief, not to exceed 5,500 words, on July 8, 2020. The Defendant shall serve, but not file, its sur-

  reply brief, not to exceed 2,750 words, on July 15, 2020. The text for each brief shall be 14-point

  and in Times New Roman or a similar typeface. Each brief must include a certification by counsel

  that the brief complies with the type and number limitations set forth above. The person who prepares

  the certification may rely on the word count of the word-processing system used to prepare the brief.

         No later than July 22, 2020, the parties shall file a Joint Claim Construction Brief. The

  parties shall copy and paste their untitled briefs into one brief, with their positions on each claim

  term in sequential order, in substantially the form below.

           JOINT CLAIM CONSTRUCTION BRIEF

   I.      Agreed-upon Constructions

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  II.     Disputed Constructions

  A.      [TERM 1]
          1.   Plaintiffs Opening Position
          2.   Defendant' s Answering Position
          3.   Plaintiffs Reply Position
          4.   Defendant's Sur-Reply Position


  B.      [TERM 2]
          1.   Plaintiffs Opening Position
          2.   Defendant' s Answering Position
          3.   Plaintiffs Reply Position
          4.   Defendant' s Sur-Reply Position

  Etc. The parties need not include any general summaries of the law relating to claim construction.

  If there are any materials that would be submitted in an appendix, the parties shall submit them

   in a Joint Appendix . Citations to intrinsic evidence shall be set forth in the Joint Claim

  Construction Brief. Citations to expert declarations and other extrinsic evidence may be made in

  the Joint Claim Construction Brief as the parties deem necessary, but the Court will review such

   extrinsic evidence only if the Court is unable to construe the disputed claim terms based on the

   intrinsic evidence. See Vitronics Corp. v. Conceptronic, Inc., 90 F .3d 1576, 1584 (Fed. Cir.

   1996). Declarations shall not contain legal argument or be used to circumvent the briefing word

   limitations imposed by this paragraph .

         The Joint Claim Construction Brief and Joint Appendix shall provide pinpoint citations.

   The Court will ignore any assertions of controverted facts and controverted legal principles not

   supported by a pinpoint citation to, as applicable: the record, an attachment or exhibit, and/or

   case law or appropriate legal authority. See United States v. Dunkel, 927 F.2d 955 , 956 ("Judges

   are not like pigs, hunting for truffles buried in briefs."). The parties shall provide the Court with

   two hard copies of the Joint Claim Construction Brief and Joint Appendix. Exhibits and

   attachments shall be separated by tabs. Each exhibit and attachment shall have page numbers of
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   some sort such that a particular page of an exhibit or attachment can be identified by page

   number. The parties shall take all practical measures to avoid filing multiple copies of the same

   exhibit or attachment. The parties should highlight the text of the exhibits and attachments they

   wish the Court to read. The parties are encouraged to include in an exhibit or attachment only the

   pages of the document in question that ( 1) identify the document ( e.g., the first page of a

   deposition transcript or the cover page of a request for discovery) and (2) are relevant to the

   issue(s) before the Court.

           14.    Meet and Confer Confirmation and Amended Claim Chart. On or before

         August 7, 2020, local and lead counsel for the parties shall meet and confer and thereafter

 file an Amended Joint Claim Construction Chart that sets forth the terms that remain in dispute.

 During the meet and confer, the parties shall attempt to reach agreement on any disputed terms

 where possible and to narrow the issues related to the remaining disputed terms . The parties shall

 file with the Amended Joint Claim Construction Chart a letter that identifies by name each

  individual who participated in the meet and confer, when and how (i.e., by telephone or in

  person) the meet and confer occurred, and how long it lasted. If no agreements on constructions

  have been reached or if no dispute has been narrowed as a result of the meet and confer, the letter

  shall so state and the parties need not file an Amended Joint Claim Construction Chart.

           15 .   Hearing on Claim Construction. Beginning at 10:00 a.m. on August 20, 2020

 the Court will hear argument on claim construction. Absent prior approval of the Court (which, if

  it is sought, must be done by joint letter submission no later than the date on which answering

  claim construction briefs are due to be served), the parties shall not present testimony at the

  argument, and the argument shall not exceed a total of three hours.

           16.     Interim Status Report.    On September 25, 2020, counsel shall submit

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  a joint letter the Court with an interim report on the nature of the matters in issue and the

  progress of discovery to date. Thereafter, if the Court deems it necessary, it will schedule a

  status conference.

          17.    Supplemeptatiop. Absent agreement among the parties, and approval of the Court,
  no later than October 2, 2020, the parties must finally supplement, inter alia, the

  identification of all accused products and of all invalidity references .

          18.     Case Dispositive Motions.

                  (a)    No early motions without leave. All case dispositive motions, an opening

  brief, and affidavits, if any, in support of the motion shall be served and filed on or before

  June 4, 2021. No case dispositive motion under Rule 56 may be filed more than ten days

  before the above date without leave of the Court.

                  (b)     Motions to be Filed Separately. A party shall not combine multiple

          motions seeking separate and distinct relief into a single motion .

                  (c)     Word limits combined with Daubert motion word limits. Each party is

          permitted to file as many case dispositive motions as desired ; provided , however, that

          each SIDE will be limited to a combined total of I 0,000 words for all opening briefs, a

          combined total of I 0,000 words for all answering briefs, and a combined total of 5,000

          words for all reply briefs regardless of the number of case dispositive motions that are

          filed. In the event that a party files , in addition to a case dispositive motion, a Daubert

          motion to exclude or preclude all or any portion of an expert's testimony, the total

          amount of words permitted for all case dispositive and Daubert motions shall be

          increased for each SIDE to I 2,500 words for all opening briefs, 12,500 words for all

          answering briefs, and 6,250 words for all reply briefs. The text for each brief shall be

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         14- point and in Times New Roman or a simi lar typeface. Each brief must include a

         certification by counsel that the brief complies with the type and number limitations

         set forth above. The person who prepares the certification may rely on the word count

         of the word-process ing system used to prepare the brief.

                (d)       Concise Statement of Facts Requirement. Any motion for summary

         judgment shall be accompanied by a separate concise statement detailing each material

         fact as to which the moving party contends that there are no genuine issues to be tried

         that are essential for the Court' s determination of the summary judgment motion (not the

         entire case). 1A party must submit a separate concise statement of facts for each

         summary judgment motion. Any party who opposes the motion shall file and serve with

         its opposing papers a separate document containing a single concise statement that

         admits or disputes the facts set forth in the moving party ' s concise statement, as well as

         sets forth all material facts as to which it is contended there exists a genuine issue

         necessary to be litigated.

                (e)     Focus of the Concise Statement. When preparing the separate concise

         statement, a party shall reference only the material facts that are absolutely necessary for

         the Court to determine the limited issues presented in the motion for summary judgment

         (and no others), and each reference shall contain a citation to a particular affidavit,

         deposition, or other document that supports the party ' s interpretation of the material fact.

         Documents referenced in the concise statement may, but need not, be filed in their



   1
    The party must detail each material/act in its concise statement of facts. The concise
  statements of facts play an important gatekeeping role in the Court' s consideration of summary
  judgment motions.

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        entirety if a party concludes that the full context would be helpful to the Court (e.g. , a

        deposition miniscript with an index stating what pages may contain key words may often

        be useful). The concise statement shall particularly identify the page and portion of the

        page of the document referenced . The document referred to shall have relevant portions

        highlighted or otherwise emphasized. The parties may extract and highlight the relevant

        portions of each referenced document, but they shall ensure that enough of a document is

        attached to put the matter in context. If a party determines that an entire deposition

        transcript should be submitted, the party should consider whether a miniscript would be

        preferable to a full-size transcript. If an entire mini script is submitted, the index of terms

        appearing in the transcript must be included, if it exists. When multiple pages from a

        single document are submitted, the pages shall be grouped in a single exhibit. Concise

        statements of fact shall comply with the portions of paragraph 12 of this Order pertaining

        to pinpoint citations and hard copies.

                (f)     Word Limits for Concise Statement. The concise statement in support of

        or in opposition to a motion for summary judgment shall be no longer than 1,750 words.

        The text for each statement shall be 14-point and in Times New Roman or a similar

        typeface. Each statement must include a certification by counsel that the statement

        complies with the type and number limitations set forth above. The person who prepares

        the certification may rely on the word count of the word-processing system used to

        prepare the statement.

                (g)     Affidavits and declarations . Affidavits or declarations setting forth facts

        and/or authenticating exhibits, as well as exhibits themselves, shall be attached only to

        the concise statement (i.e. , not briefs).

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                    (h)    Scope of Judicial Review. When resolving motions for summary

          judgment, the Court shall have no independent duty to search and consider any part of the

          record not otherwise referenced in the separate concise statements of the parties. Further,

          the Court shall have no independent duty to review exhibits in their entirety, but rather

          will review only those portions of the exhibits specifically identified in the concise

          statements. Material facts set forth in the moving party ' s concise statement will be

          deemed adm itted unless controverted by a separate concise statement of the opposing

          party.

           19.      Applications by Motion. Except as otherwise specified herein, any

 application to the Court shall be by written motion . Any non-dispositive motion should

  contain the statement required by Local Rule 7.1.1.

          20.      Pretrial Conference. On November 10, 2021, the Court will hold a Rule 16(e) final

  pretrial conference in court with counsel beginning at 4:00 p.m. The parties shall file a joint

  proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5:00 p.m. on

  October 20, 2021. Unless otherwise ordered by the Court, the parties shall comply with the

  timeframes set forth in Local Rule 16.3(d) for the preparation of the proposed joint final pretrial

  order. The joint pretrial order shall comply with the portions of paragraph 12 of this Order

  pertaining to pinpoint citations and hard copies.

           21.      Motions in Limine. Motions in limine shall not be separately filed. All in

  limine requests and responses thereto shall be set forth in the proposed pretrial order. Each

  party shall be limited to three in limine requests, unless otherwise permitted by the Court.

  Each in limine request and any response shall contain the authorities relied upon ; each in

  limine request may be supported by a maxim um of three pages of argument and may be

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 opposed by a maximum of three pages of argument, and the party making the in limine request

 may add a maximum of one additional page in reply in support of its request. If more than one

  party is supporting or opposing an in limine request, such support or opposition shall be

 combined in a single three- page submission (and, if the moving party, a single one-page

 reply). No separate briefing shall be submitted on in limine requests, unless otherwise

  permitted by the Court. Motions in limine shall comply with the portions of paragraph 12 of

 this Order pertaining to pinpoint citations and hard copies.

             22.   Compendium of Cases. A party may submit with any briefing two courtesy

   copies of a compendium of the selected authorities on which the party would like the Court to

   focus. The parties should not include in the compendium authorities for general principles or

   uncontested points of law (e.g. , the standards for summary judgment or claim construction). An

   authority that is cited only once by a party generally should not be included in the compendium .

   An authority already provided to the Court by another party should not be included in the

   compendium. Compendiums of cases shall not be filed electronically with the Court, but a

   notice of service of a compendium of cases shall be filed electronically with the Court.

   Compendiums shall comply with the portions of paragraph 12 of this Order pertaining to hard

   copies.

             23.   Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be

   tried to a jury, pursuant to Local Rules 47 .l(a)(2) and 51.1 , the parties should file (i) proposed

   voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

   forms no later than 5:00 p.m. October 20, 2021 . The parties shall submit simultaneously

   with filing each of the foregoing four documents in Word format to

   cfc civil@ded.uscourts.gov.

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                24.   Trial. This matter is scheduled for a J!!IY_trial beginning at 9:30

 a.m . on November 15, 2021 with the subsequent trial days beginning at 9:00 a.m. Until

 the case is submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The

 trial will be timed, as counsel will be allocated a total number of hours in which to present their

 respective cases .

                25.    ADR Process . This matter is referred to a magistrate judge to explore the

   possibility of alternative dispute resolution .




                                 -~
   United States Magistrate Judge

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